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                                        MARIAH SMITH, Plaintiff,
                                                       V.

                            PHILIP ALLAN BOROW, et al., Defendants.

                                      Case No. 3:19-cv-08553-GC-TJB.

                                United States District Court, D. New Jersey.

                                                 May 13, 2022.


NOT FOR PUBLICATION

OPINION

GEORGETTE CASTNER, District Judge.

This matter comes before the Court upon Plaintiff Mariah Smith's ("Plaintiff') Second Amended Complaint,
filed on July 6, 2021 . (ECF No. 16.) For the reasons explained below, Plaintiffs Second Amended
Complaint shall be dismissed with prejud ice.


BACKGROUND

On March 14, 2019, Plaintiff filed her Original Complaint and an Application to Proceed In Forma Pauperis.
(ECF No. 1.) Plaintiff named four defendants in the case : Philip Allan Borow ("Borow") , Robert M. Adochio
("Adochio"), Marlina Papotto ("Papotto"), and W. Richard Veitch ("Veitch") , (collectively, "Defendants").

Plaintiffs Original Complaint appears to assert civil rights claims against the above-named Defendants for
malicious prosecution . (Campi. at 2, ECF No. 1.) Plaintiff also appears to challenge the legitimacy of an
underlying criminal municipal court proceeding , asserts that she was not permitted to testify on her own
behalf, and challenges the conduct of her public defender. (Id. at 2-4 .) On September 10, 2020, Plaintiffs
Application to Proceed In Forma Pauperis was granted by this Court. (ECF No. 5.)

While Plaintiffs in forma pauperis application was granted , the Court dismissed her Original Complaint,
stating that it "fails to meet the standard set forth in Federal Rule of Civil Procedure 8 because the
allegations in the Complaint are confused and fail to identify events that give rise to Smith's claims ." (ECF
No. 4 at 4.) Furthermore , Plaintiffs Original Complaint did not contain a short and plain statement that
outlines the specific allegations aga inst each Defendant. (Id.)

Plaintiff then timely filed a First Amended Complaint. (ECF No. 6) . The content of Plaintiffs First Amended
Complaint is substantially similar to the Original Complaint, although it added two additional parties. (See
id.) Plaintiffs First Amended Complaint was dismissed , without prejudice , for the reasons set forth on the
record. (ECF Nos. 14-15.) Plaintiff was given sixty (60) days to cure the deficiencies of the First Amended
Complaint. (Id.)
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On July 6, 2021 , Plaintiff filed her Second Amended Complaint, which is currently before this Court. (ECF
No. 16.)


LEGAL STANDARD

As noted in the September 10, 2020 decision granting Plaintiffs in forma pauperis application , the Court is
required "to screen Smith's Complaint pursuant to 28 U.S.C . § 1915(e)(2)(B)." (ECF No. 4 at 2-3 .) "The
legal standard for dismissing a complaint for failure to state a claim pursuant to 28 U.S .C. § 1915(e)(2)(B)
(ii) is the same as that for dismissing a complaint pursuant to Federal Rule of Civil Procedure 12(b)(6)."
Schreane Y·...seana,...506 ___F.,, Amix ..1_20.,_1.ll__(3d __Cir..20_1_ 2)..

When considering a Rule 12(b)(6) motion , a district court conducts a three-part analysis. Malleus v. Georg&.,.
641 F.3d 560 , 563 (3d Cir. 2011 ). "First, the court must ' tak[e] note of the elements a plaintiff must plead to
state a claim ."' Id. (quoting Ashcroft v. Igbal, 556 U.S . 662 , 675). "Second , the court should identify
allegations that, 'because they are no more than conclusions , are not entitled to the assumption of truth ."'
Id. (quoting Lqbal, 556 U.S. at 679) . The court must accept as true all well-pleaded factual allegations and
construe the complaint in the light most favorable to the plaintiff. Fowler v. UPMC Shady_side, 578 F.3d 203 ,
210 (3d Cir. 2009) (citation om itted ). Third , the court must determine whether the well-pleaded facts
"plausibly give rise to an entitlement for rel ief." Malleus, 641 F.3d at 563 (quoting Lqbal, 556 U.S. at 679) ;
see also Fowler, 578 F.3d at 211 . A complaint that does not demonstrate more than a "mere possibility of
misconduct" must be dismissed . Gelman v. State Farm Mut. Auto. Ins. Co., 583 F.3d 187, 190 (3d Cir.
2009). (quoting Lqbal, 556 U.S . at 679) . Although courts construe prose pleadings less stringently than
formal pleadings drafted by attorneys, pro se litigants are still required to "allege sufficient facts in their
complaints to support a claim ." Mala v. Crown Bay_ Marina, Inc., 704 F.3d 239 , 245 (3d Cir. 2013) (citation
omitted).

Federal Rule of Civil Procedure 8 sets forth general rules of pleading , and requires (1) "a short and plain
statement of the grounds for the court's jurisdiction ," (2) "a short and plain statement of the claim showing
that the pleader is entitled to rel ief," and (3) allegations that are "simple , concise , and direct." Fed. R. Civ. P.
8(a)(1 ); 8(a)(2); 8(d).


DISCUSSION

The Court recognizes that it must liberally construe Plaintiffs submission because she is pro se. See
Dluhos v. Strasberg, 321 F.3d 365 , 373 (3d Cir. 2003). ("[W]e must liberally construe the prose litigant's
pleadings, and we will apply the applicable law, irrespective of whether he has mentioned it by name .")
However, wh ile this Court will construe the pleading "so as to do justice ," this purported action , like
Plaintiffs Original and First Amended Complaints , is deficient. Fed. R. Civ. P. 8(e ).

The crux of Plaintiff's cla im appears to be a malicious prosecution claim in connectio n with her municipal
court case . (See ECF No. 16.) Plaintiff brings these claims against Judge Borow, "Judicial Officer" Papotto ,
her attorney Veitch, and the Prosecutor Adachio. In what appears to be an allegation against Judge Borow,
Plaintiff asserts that she was not permitted to testify on her own behalf. (Id. at 1.) However, Plaintiff also
asserts that she suffered a mouth injury and had a fever of 100 degrees and was ordered by a doctor to
stay home . (Id. at 1, 2, 6 .) Then , Plaintiffs Second Amended Complaint asserts a number of allegations
related to the conduct of several non-parties to this Complaint.
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Despite Plaintiffs assertions , it is a "well-settled principle of law that judges are generally ' immune from a
suit for money damages."' Figueroa v. Blackburn, 208 F.3d 435 , 440 (3d Cir. 2000). (quoting Mireles v.
Waco, 502 U.S. 9,...11_(1991 ).). Further, "immunity will not be lost merely because the judge's action is
' unfair' or controversial." Gal/as v. Su12.reme Court of Pa. , 211 F.3d 760, 769 (3d Cir. 2000).. There are only
two ways for judicial immunity to be overcome . "First, a judge is not immune from liability for nonjudicial
actions , i. e., actions not taken in the judge's judicial capacity .... Second , a judge is not immune for
actions , though judicial in nature, taken in the complete absence of all jurisdiction ." Mireles v. Waco, 502
U.S. 9, 11-12 (1991)..

Here, while Plaintiff may disagree with Judge Borow's alleged decision to allow or not allow certain
testimony, such conduct certainly qualifies as a "judicial act," to which judicial immunity applies. StumQJL
~12arkman, 435 U.S. 349 , 362 (1978).. See Johnson v. Bilotta, No. 16-8879, 2018 U.S. Dist. LEXIS 11126, at
*9 (D .N.J. Jan. 23 , 2018) (finding judicial immunity when Plaintiff alleges that expert testimony was
erroneously permitted to proceed and noting that "Plaintiff has not relayed any facts that demonstrate [the
judge] performed non-judicial acts").

Similarly, "[a] prosecuting attorney in the State of New Jersey ' who act[s] within the scope of his duties in
initiating and pursuing a criminal prosecution' is absolutely immune from suit." Oliveira v. Borough of N.
Arlington, No. 15-7717, 2018 U.S. Dist. LEXIS 1117, at *? (D .N.J. Jan . 3, 2018) (quoting lmblerv.
Pachtman, 424 U.S. 409 , 410 (1976). (alteration in original ). See LeB/anc __v.__Stedman,.. _4 83 .. F.__ Ap_~.
§fill(3d __ Cir. __ 2012).. Public defenders are likewise absolutely immune from su it for actions taken within the
scope of their professional duties as counsel. See _C arter _v.___Kane, ___71 ?__F. Ap~.-1.illL(3d __ Cir.__20_1_7}; see
also Polk Cnty. V Dodson, 454 U.S. 312, 318 (1981 ).

Plaintiff asserts that her attorney "allowed Sheila ," a non-party, to "lie on [Plaintiff] ," presumably wh ile
testifying in court. (ECF No. 16 at 5.) And , Plaintiffs claims against the prosecutor, Adochio , seem to be
limited to vague assertions that she was "not allowed ... to discuss the charges" with him . (Id. at 6.) None of
the assertions made against either her attorney or the prosecutor identifies conduct that falls outside the
scope of their legal duties. As a result, both the prosecutor and Plaintiffs attorney are immune from suit.

Finally, "[q]uasi-judicial immunity is given only to public employees who perform judgelike functions and
attaches when a public official's role is functionally comparable to that of a judge." Ingram v. Twf2. . of
De12.tford, 858 F. Sur:m . 2d 386 , 390 (D.N.J. 2012).." Plaintiff brings claims against Marlina Papotto , identified
as a judicial officer, and alleges that she "allowed ... false harassment" charges to go through . (ECF No. 16
at 4.) However, Papotto , properly identified as a Deputy Court Administrator, is immune from suit as well .m
Plaintiff alleges that Papotto permitted false harassment charges" to go forward in her capacity as a Deputy
Court Administrator. "When jud icial immunity is extended to officials other than judges, it is because their
judgments are ' functionally comparable' to those of judges-that is because they, too , ' exercise a
discretionary judgment' as part of their function ." Antoine v. By_ers & Anderson, Inc., 508 U.S. 429 , 436
.(1993).. Here, Papotto's actions are "functionally comparable" to that of a judge, which makes her immune
from su it for that action. See Britton v. City of At/., No. 17-1986, 2018 U.S. Dist. LEXIS 176382, at *6 (D .N.J .
Oct. 11 , 2018).

The rema inder of Plaintiffs Second Amended Complaint does not clearly identify a cla im upon which relief
can be granted . In fact , much of Plaintiffs Second Amended Complaint focuses on allegations from a
previously litigated state court action involving a harassment suit with nonparty, Angela Reid .
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Even though, "[s]pecific facts are not necessary," Plaintiffs Complaint still must "give the defendant fair
notice of what the ... claim is and the grounds upon which it rests ." Erickson v. Pardus, 551 U.S . 89 ,~
.(2007). (citations omitted). Wh ile construing the Complaint in the light most favorable to Plaintiff, the Second
Amended Complaint fails to comply with Rule 8 in that it does not contain "a short and plain statement of
the claim showing that the pleader is entitled to relief." Fed . R. Civ. P. 8(a)(2) . Because Plaintiff fails to meet
the requirements of Rule 8, she has not stated a "claim upon which relief can be granted ." Fed . R. Civ. P.
12(b )(6).

For the reasons described above , the Court must dismiss Plaintiffs Second Amended Complaint pursuant
to 28 U.S.C. § 1915(e)(2)(B)(ii) with prejudice .


CONCLUSION

For the reasons set forth above , Plaintiffs· Second Amended Complaint is DISMISSED WITH PREJUDICE.
An appropriate Order will follow.

[11 A court may, on its own , take jud icial notice of "a fact that is not subject to reasonable dispute because it ... can be accurately and
read ily determined from sources whose accuracy cannot reasonably be questioned." Fed. R. Evid. 201 (b). Accord ing to public record,
Marlina Papotto is a Deputy Court Admin istrator for the City of New Brunswick Municipal Court.




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